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Approved:
                                                                                   ORIGINAL
                     REBECCA T. DELL
                     Assistant United States Attorney

Before:              THE HONORABLE ONA T. WANG
                     United States Magistrate Judge
                                                                      1~ MAG 8874
                                                                       -
                     Southern District of New York
                                                                  X

UNITED STATES OF AMERICA                                               19 Mag. - - - -

                 - v.        -                                         RULE 5 ( c) ( 3 )
                                                                       AFFIDAVIT
RONNY AMARO,

                                             Defendant.
 -   -   -   -   -   -   -       -   -   -    -   -   -   -   -   X

SOUTHERN DISTRICT OF NEW YORK, ss:

          KEVIN KAMROWSKI, being duly s.worn, deposes and says
that he is a Deputy United States Marshal, and charges as
follows:

          On or about August 28, 2019, the United States
District Court for the Western District of Pennsylvania issued a
warrant for the arrest of "RONNY AMARO A/K/A RONNY MERCADO"
based on an indictment charging "RONNY AMARO A/K/A RONNY
MERCADO" with one count of violating 18 U.S.C. § 1349 (fraud
conspiracy) and two counts of violating 18 U.S.C. § 1028A(a) (1)
(aggravated identity theft). A copy of the arrest warrant and
the indictment are attached as Exhibit A hereto and incorporated
by reference herein.

        I believe that RONNY AMARO A/K/A RONNY MERCADO, the
defendant, who was arrested on September 20, 2019, in the
Southern District of New York, is the same person as the "RONNY
AMARO A/K/A RONNY MERCADO" who is wanted by the United States
District Court for the Western District of Pennsylvania.

          The bases for my knowledge and for the foregoing
charge are, in part, as follows:

          1.   I am a Deputy Un~ted States Marshal.  I have been
personally involved in determining whether RONNY AMARO A/K/A
RONNY MERCADO, the defendant, is the same individual as the
"RONNY filvlARO A/K/A RONNY MERCADO" nam@d in th@ August :ZB, :ZOl~
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arrest warrant from the United States District Court for the
Western District of Pennsylvania. Because this Affidavit is
being submitted for the limited purpose of establishing the
identity of the defendant, I have not included in this Affidavit
each and every fact that I have learned. Where I report
statements made by others, those statements are described in
substance and in part, unless otherwise noted.

           2.   Based on my review of documents from proceedings
in the United States District Court for the Western District of
Pennsylvania, I know that, on or about August 28, 2019, the
United States District Court for the Western District of
Pennsylvania issued a warrant for the arrest of "RONNY AMARO
A/K/A RONNY MERCADO" (the "Arrest Warrant"). The Arrest Warrant
was based on a criminal indictment charging "RONNY AMARO A/K/A
RONNY MERCADO" with one count of violating 18 U.S.C. § 1349
(fraud conspiracy) and two counts of violating 18 U.S.C. §
1028A(a) (1) (aggravated identity theft). The Indictment was
issued in connection with case number 19-cr-263 in the Western
District of Pennsylvania.

          3.   On September 20, 2019, at approximately 6 a.m., I
arrested RONNY AMARO A/K/A RONNY MERCADO, the defendant, in his
family's home located in the vicinity of 418 West 130th Street,
Apartment 45, in New York, New York. AMARO and his mother
identified the defendant as RONNY AMARO.

          4.   I have received from law enforcement officers in
the Western District of Pennsylvania photographs of the "RONNY
AMARO A/K/A RONNY MERCADO" named and sought in the Arrest
Warrant.

          5.   Based on my visual comparison of the provided
photographs with RONNY AMARO A/K/A RONNY MERCADO, the defendant,
I believe that the "RONNY AMARO A/K/A RONNY MERCADO" sought in
the Arrest Warrant is the defendant, RONNY AMARO A/K/A RONNY
MERCADO.




                      [Intentionally Left Blank]




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          WHEREFORE, I respectfully request that RONNY AMARO
A/K/A RONNY MERCADO, the defendant, be imprisoned or bailed as
the case may be.




Sworn to before me this
20th day of September, 2019.




                    trate Judge
                    f New York




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         JEXJH[[BKT A
                  .,
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AO 442 (Rev. 1116) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Western District of Pennsylvania

                       United States of America
                                  v.                                  )
                           RONNY AMARO                                )          case No.     2:19-cr-263
                       A/KIA ~ONNY MERCADO                            )
                                                                      )
                                                                      )
                                                                      )

                                                       ARREST WARRANT
To:        Any authorized law enforcement officer
           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) - - - - - - ·                     RONNYAMARO          -c------------~----
who is accused of an offense or violation based on the following document tiled with the court:

(:/ Indictment              CJ Superseding Indictment        a   Information        O Superseding Information             a    Complaint
CJ Probation Violation Petition       a Supervised Release Violation Petition                  • Violation Notice         a    Order of the Court
This offense is bdefly described as follows:
  Count 1                18 U.S.C. 1349 Fraud Conspiracy

  Counts 4 & 5           18 U.S.C. 1028 A (a) (1) Aggravated ldentiity Theft




                                                                                                      AUG28 '19 PHl:54
                                                                                                      U8. MAR'.:>liALS PGH.PR

Jose h V.Ventresca                                            Deputx_ Clerk
Name ofissuing Officer                                        Title ofJssuing Officer
                                                            . 08/28/2019        Pittsburgh
                                                              Date and Location
Bail fixed at S                                                     V) - - - - - - - " - - - - - - -
                                                                          Name ofJudicial Officer                         ------~
                                                                   Return

          This warrant was received on (dare) _ _ _ _ _ _ _ , and the person was arrested on (da1e} ._ _ _ _ _ __
 at (city and state) Bond sh~II be set by U.S. Mag. Judge .

 Date:                                                                                         Arresting officer's signature
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                                                                                                         FILED
                                                                                                         AUG 2 7-2019
                         IN THE UNITED STATES DISTRICT COURT  CL
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIAWesiRt,t:So.DFISPTRICT COURT
                                                                 '    ·      ENNSYLVAN/A
        UNITED STATES OF AMERICA

                         V.                                              Criminal No. / f/' ib)
                                       - -                   -           (18 U.S.C. §§ 1349 and 1028A(a)(l))
                                                       ffi
                                                                         UNDERSEAL
             I                                                   '
    .
                     -        .              ..   --             :
    RONNY AMARO
    a/k/a Ronny Mercado
                                                  -
                                  I,

                                                     .
         •                                        . . .M             '
I


                                                       -

                                                         INDICTMENT

                                                             COUNT ONE

                 The grand jury charges:

                 Beginning in and around April, 2018, and continuing thereafter until in and around August,

2019, in the Western District of Pennsylvania and elsewhere, the defendants,                              I    O

                                                                                                                   41P)


                                                                                            ...
        ..                        knowingly and willfully did conspire, combine, confederate and agree with

each other, and with persons both known and unknown to the grand jury, to commit an offense

against the United States, that is, wire fraud, in violation of Title 18, United States Code, Section

1343.
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                           MANNER AND MEANS OF THE CONSPIRACY

            1.     It was the object of the conspiracy that   thel                                        )

     RONNY AMARO, a/k/a Ronny Mercad
                                               ..____________________                                   __,


    _ _ _ _....;;.__•_ _ _ _ _ _ _ _ _ _ _ _ _ _ ____Jldetermined to unlawfully obtain

    the means of identification of account holders at wireless mobile services company Sprint

    Corporation (hereafter, Sprint) in order to fraudulently open new lines of service in the account

    holder's name, and to purchase Apple and Samsung cell phones and electronics and accessories

    using the identity of the Sprint account holder.

           2.      It was first a part of the conspiracy that the defendants unlawfully obtained the

    means of identification of Sprint account holders, including the names and addresses of residents

    of New Jersey, Connecticut, Pennsylvania, Califo1nia, Washington, Tennessee, Colorado,

    Michigan, New York, Ohio, Alabama and elsewhere (hereafter, victims).

/
           3.      It was further a part of the conspiracy that the defendants then produced fictitious

    identification documents such as state driver's licenses in the names of the victims, but which

    contained the photo of one of the defendants.

           4.      It was further a part of the conspiracy that the defendants then entered Sprint retail .

    stores ip. Pennsylvania, New York, Texas, Delaware, Oregon, Washington, Arizona, Oklahoma

    and elsewhere, and, with the fictitious driver's license, deceived Sprint retail clerks that the

    defendant was the Sprint account holder named on the driver's license.

           5.      It was further a part of the conspiracy that the defendants then requested that one

    or more additional lines of service be added to the victim account holder's cell phone plan, and

    that the defendant receive one or more additional iPhones such as the iPhone X, SXM or XR

    models, or Samsung Galaxy cell phones and Notes, or Apple accessories such as iPhone cases,

    iPads, Airpods, Apple watches or headphones.

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       6.      It was further a part of the conspiracy that the defendants forged lease agreements

in the victim's names, and caused retail clerks to activate the new cell phones and electronics in

the name of the Sprint customer who was billed for the electronic devices and new phone plan.

       7.      It was further a part of the conspiracy that the defendants then, with the unlawfully

obtained electronics, trafficked them to other persons in the black market.

       In violation of Title 18, United States Code, Section 1349.




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                                 COUNTS TWO AND THREE

       The grand jury further charges:

       On or about the dates set fo1th below, in the Westem District of Pennsylvania, the



.._______________.....JJ duriJ+g and in relation to the felony violation of fraud

conspiracy, in violation of Title 18, U.S.C. § 1349, did knowingly and without lawful authority,

possess and use a means of identification of another person, specifically, the defendant possessed

and used fictitious state driver's licenses with the names and addresses of real victim account

holders at Sprint known to the grand jury and identified by initials below, and unlawfully obtained

merchandise in the victim's name, each such possession and use being a separate count herein:

               Count          Date                          Victim
               2              April 29, 2018                J.G.
               3              May 5, 2018                   P.N.

       In violation of Title 18, United States Code, Section 1028A(a)(l).




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                                         COUNTS FOUR AND FIVE

              The grand jury further charges:

              On or about the dates set forth below, in the Western District of Pennsylvania, the

    defendant, RONNY AMARO, a/k/a Ronny Mercado, during and in relation to the felony violation

    of fraud conspiracy, in violation of Title 18, U.S.C. § 1349, did knowingly and without lawful

    authority, possess and use a means of identification of another person, specifically, the defendant

    possessed and used fictitious state driver's licenses with the names and addresses of real victim

    account holders at Sprint known to the grand jury and identified by initials below, and unlawfully

    obtained merchandise in the victim's name, each such possession and use being a separate count

    herein:

                     Count          Date                           Victim
                     4              October 1, 2018                D.C.
                     5              November 26, 2018              D.B.

              In violation of Title 18, United States Code, Section 1028A(a)(l ).




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                                               COUNT SIX

           The grand jury further charges:

           On or about the date set forth below, in the Western District of Pennsylvania, the defendant,


l              -
1.I_ _ _ _ _ __.I during
                                                                                h   ••

                               and in relation to the felony violation of fraud conspiracy, in violation
                                                                                                           I
    of Title 18, U.S.C. § 1349, did lmowingly and without lawful authority, possess and use a means

    of identification of another person, specifically, the defendant possessed and used fictitious state

    driver's licenses with the name and address of a real victim account holder at Sprint lmown to the

    grand jury and identified by initial below, and unlawfully obtained merchandise in the victim's

    name, each such possession and use being a separate count herein:

                   Count          Date                           Victim
                   6              March 22, 2019                 D.S.

           In violation of Title 18, United States Code, Section 1028A(a)(l).




                                                         Foreperson




    sc~e:a:
    United States Attorney
    PA ID No. 88352




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